Case 2:21-cv-00067-Z Document 128 Filed 02/04/22 Page1of2 PagelD 3721

FILED
February 4,2022  @inited States Court of Appeals

KAREN MITCHELL , , ' United States Court of Appeals
CLERK, U.S. DISTRICT for the Fifth Circutt Fith Gireult
COURT FILED

Re December 13, 2021

No. 21-10806 Lyle W. Cayce
Clerk

STATE OF TEXAS; STATE OF MISSOURI,
Plaintiffs— Appellees,
versus

JOSEPH R. BIDEN, JR., IN HIS OFFICIAL CAPACITY AS
PRESIDENT OF THE UNITED STATES OF AMERICA; UNITED
STATES OF AMERICA; ALEJANDRO MAYORKAS, SECRETARY,
U.S. DEPARTMENT OF HOMELAND SECURITY; UNITED STATES
DEPARTMENT OF HOMELAND SECURITY; TROY MILLER,
ACTING COMMISSIONER, U.S. CUSTOMS AND BORDER
PROTECTION; UNITED STATES CUSTOMS AND BORDER
PROTECTION; TAE D. JOHNSON, ACTING DIRECTOR, U.S.
IMMIGRATION AND CUSTOMS ENFORCEMENT; UNITED STATES
IMMIGRATION AND CUSTOMS ENFORCEMENT; UR M. JADDOU,
DIRECTOR OF U.S. CITIZENSHIP AND IMMIGRATION SERVICES;
UNITED STATES CITIZENSHIP AND IMMIGRATION SERVICES,

Defendants —Appellants.

 

Appeal from the United States District Court
for the Northern District of Texas
USDC No, 2:21-CV-67

 

Before BARKSDALE, ENGELHARDT, and OLDHAM, Circuit Judges.

JUDGMENT

 

 
 

Case 2:21-cv-00067-Z Document 128 Filed 02/04/22 Page 2of2 PagelD 3722

No. 21-10806

This cause was considered on the record on appeal and was argued by
counsel.

IT IS ORDERED and ADJUDGED that the judgment of the
District Court is AFFIRMED.

IT IS FURTHER ORDERED that each party bear its own costs
on appeal.

 

Certified as a true copy and issued
as the mandate on Feb 04, 2022

Attest:
Sue Ww. C bee he
Clerk, U.S, Court of Appeaws, Fifth Circuit

 

 
